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Omar P. Calimbas

Micronesian Legal Services Corp.
Marianas Office

P.O. Box 500826

Saipan, MP 96950

Tel. 234-6243/7729

Fax 235-6101
ocalimbas@mlscnet.org

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
FOR THE NORTHERN MARIANA ISLANDS
BANKRUPTCY DIVISION

MOHAMMAD KAMAL HOSSAIN, Civil Action No. 08-0016
Plaintiff,
Vv.

COMMONWEALTH OF THE DECLARATION OF PLAINTIFF
NORTHERN MARIANA ISLANDS, and
MATTHEW GREGORY, in his official
capacity as Attorney General of the
Commonwealth of the Northern Mariana
Islands, and UNITED STATES OF
AMERICA,

Defendants.

 

 

 

 

I, Mohammad Kamal Hossain, do hereby give my consent to the withdrawal of Micronesian
Legal Services Corporation (“MLSC”) as my attorney in this case. I understand this means that MLSC
will no longer represent me in this matter. I give my consent to this withdrawal of counsel willingly

and voluntarily. I can be reached at P.O. Box 503634, Saipan, MP 96950; (670) 235-8585.

x

I declare under penalty of perjury that the foregoing is Sipe correct.

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Dated: We 21. o8 AWA

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